
ORDER
PER CURIAM.
AND NOW, this 19th day of March, 1997, we Grant the Petition for Allowance of Appeal. This Court will consider the following issues on appeal:
1. Whether the Dr. Bindie’s statement in his written report concerning the time the fatal injury occurred constitutes a prior inconsistent statement pursuant to Commonwealth v. Brady, 510 Pa. 123, 507 A2d 66 (1986), and its progeny.
2. Whether a prior inconsistent statement of a non-party witness may be used as substantive evidence if the proponent of the prior statement does not question the witness in court concerning the statement.
*2323. Whether a prior inconsistent statement in an expert -witness’s written report maybe argued as substantive evidence if the proponent of the expert’s statement does not question the witness in court concerning the statement.
